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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 11−44679−SLM
                                          Chapter: 13
                                          Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Patricia E Ranta
   6 Timberwood Lane
   Oak Ridge, NJ 07438
Social Security No.:
   xxx−xx−2981
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Marie−Ann Greenberg is discharged as trustee of the estate of the above named debtor(s) and
the bond is canceled; and the case of the above named debtor(s) is closed.


Dated: July 11, 2017                        Stacey L. Meisel
                                            Judge, United States Bankruptcy Court
